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               Exhibit No. 2




              Case No. 22-cv-00384-JSR
Declaration of Rhett O. Millsaps II In Support Of Rothschild’s
  Opposition To Plaintiffs’ Motion For Summary Judgment
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                                                                   Page 1

1
2                     UNITED STATES DISTRICT COURT
3                     SOUTHERN DISTRICT OF NEW YORK
4
5        HERMÈS INTERNATIONAL and                )
         HERMÈS OF PARIS INC.,                   )
6                                                )
                            Plaintiffs,          )
7                                                )
                      vs.                        )      No.
8                                                )      1:22-CV-00384-JSR
         MASON ROTHSCHILD,                       )
9                                                )
                            Defendant.           )
10       -------------------------               )
11
12
13
14
15                                     September 23, 2022
16                                     9:32 a.m.
17
18                    Deposition of BLAKE GOPNIK, held at the
19             offices of Baker & Hostetler LLP, 45
20             Rockefeller Plaza, New York, New York,
21             pursuant to subpoena, before Laurie A.
22             Collins, a Registered Professional Reporter
23             and Notary Public of the State of New York.
24
25

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1                                 Gopnik

2             A.     Could you read it one more time,

3       please.

4             Q.     I'll rephrase the question.

5                    Do you agree that the connection with             11:25:31

6       Hermès contributed to the high value of Mason

7       Rothschild's works?

8                    MR. SPRIGMAN:      Objection.

9             A.     I would say the connection to products

10      produced by Hermès as content of his work could                11:25:51

11      have contributed to it.

12            Q.     Do you agree that Rothschild's art

13      would have had far less significance if it had not

14      crossed over into Hermès-style branding?

15                   MR. SPRIGMAN:      Objection.                     11:26:21

16            Q.     You can answer.

17            A.     Yeah, let me just think about that.

18      Could you rephrase it -- could you repeat the

19      question, please, just to make sure --

20                   MR. FERGUSON:      Could you read back the

21            question.

22            A.     I want to make sure I understand it

23      perfectly.

24                   MR. FERGUSON:      Could you read it back.

25                   (Record read.)                                    11:26:51

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1                                 Gopnik

2                   MR. SPRIGMAN:       Objection.

3             A.    I don't believe it crossed over -- I

4       don't know what crossing into Hermès style

5       branding means.                                                  11:26:58

6             Q.    I'd like to direct you to page 11 of

7       your report.

8             A.    Yeah.

9             Q.    Direct you to the sentence that begins

10      six lines down:      Rothschild's art would have far             11:27:29

11      less significance if it had not crossed over into

12      Hermès-style branding.

13            A.    I see that sentence, yes.

14            Q.    You wrote that statement?

15            A.    I did.                                               11:27:47

16            Q.    And do you agree with it?

17            A.    I think it's badly phrased.             The phrase

18      "crossed over" should have been specified more

19      clearly by me what I meant by that.

20            Q.    Okay.     Looking at this in context now,            11:27:58

21      what do you mean by "crossed over"?

22            A.    Engaged with, I would say, engaged with

23      as content of the art.

24            Q.    What is the difference between crossing

25      over and engaging with?                                          11:28:12

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1                                 Gopnik

2                   MR. SPRIGMAN:       Objection.

3             A.    I would say that crossing over into

4       branding makes it sound as though it's a branding

5       exercise, whereas if I said engaged with or                    11:28:21

6       engaged with as content it would make clear that

7       that was part of what was being discussed, if you

8       like, in the art.

9             Q.    Referring to the last sentence of the

10      paragraph where you state, quote, And to be                    11:28:50

11      successful as business art, Rothschild's work

12      needs to have the closest of connections with

13      visibly successful business.

14                  Is the visibly successful business

15      you're referring to there Hermès?                              11:29:13

16            A.    It could have a connection with any

17      visibly successful business.          And by "connection"

18      I mean an artistic connection.

19            Q.    Do MetaBirkins have connections with

20      any visibly successful business other than Hermès?             11:29:28

21                  MR. SPRIGMAN:       Objection.

22            A.    An artistic connection with -- I would

23      say they have a connection to the entire world of

24      deluxe handbags, including Hermès.

25            Q.    The name Birkin, does that refer to the            11:29:51

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1                                      Gopnik

2       team of people working on any of his projects,

3       including his literary projects.              His texts are

4       often meant to mislead and to confuse as well.

5               Q.       Do you have a belief as to whether Andy          01:26:18

6       Warhol made the statement that business art is the

7       step that comes after art?

8               A.       It is present in texts that bear his

9       name.

10                       I'm sorry if I'm being difficult about           01:26:30

11      this.        But figuring out what Andy Warhol meant or

12      said is complicated.

13              Q.       Understood.

14                       Although you've spent as much time what

15      Andy Warhol meant or said as just about anyone out                01:26:43

16      there.

17              A.       That's why it takes so long, because

18      it's complicated.

19              Q.       And in your research have you drawn any

20      conclusions as to whether Andy Warhol made the                    01:26:51

21      statement that business art comes after art?

22              A.       My conclusions about that statement was

23      that it was actually component in his business art

24      practice.

25              Q.       And what do you mean that it's a                 01:27:11

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1                                 Gopnik

2       component in his business art practice?

3              A.     That is, Andy Warhol being a kind of a

4       trickster needed to pretend to be done with art in

5       order to become this new thing called a business               01:27:20

6       artist.     So by saying it's the step that comes

7       after art, he was saying that -- well, there's two

8       things he was saying.      One is that it's the latest

9       step in art, it comes after art because

10      traditional art was dead.        In other words, he was        01:27:36

11      saying this is a knew avant-garde practice.

12                    But he had to also present himself in

13      part as a businessperson, someone who was no

14      longer making art, in order for his business art

15      to have its maximum resonance and complexity, and              01:27:47

16      he did that reliably thereafter.

17             Q.     Is making money an example of business

18      art?

19             A.     Not in every case, no.

20             Q.     Can making money be an example of                01:28:15

21      business art?

22                    MR. SPRIGMAN:     Objection.

23             A.     Yes.

24             Q.     In what circumstances is making money

25      an example of business art?                                    01:28:22

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1                                 Gopnik

2       was using -- there were no brands in Rembrandt's

3       day, obviously.     It wasn't a phenomenon in the

4       culture.    But I was talking about the establishing

5       of a larger Rembrandtian enterprise that didn't                 02:26:23

6       necessarily have to do with his hands.

7                    So to that extent the title is correct.

8       It's not about what he touched but a larger sense

9       of a studio producing a kind of object.             And those

10      objects of course function as art but they also                 02:26:37

11      function as commodities in a culture -- in a

12      commercial culture.

13            Q.     You refer in the article to Rembrandt,

14      Inc.; is that correct?

15            A.     Facetiously, yes.                                  02:26:49

16            Q.     What were you referring to facetiously

17      as Rembrandt, Inc.?

18            A.     Well, there were no such things as

19      corporations in Rembrandt's day.            I was referring

20      to metaphorically, really, to a larger studio                   02:26:59

21      cultural, an enterprise, if you like, that

22      involved Rembrandt but also assistants, and one of

23      whose goal was in fact to sell the work.

24            Q.     Is the brand you're referring to here

25      the name Rembrandt?                                             02:27:18

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1                                  Gopnik

2             A.       I am obviously speaking widely

3       metaphorically here, and in writing this I'm sure

4       I didn't think through it in great detail.           I was

5       trying to conjure an image.                                    02:29:23

6                      But I assume that a certain kind of

7       traditional Catholic once upon a time would have

8       distinguished between Crowns of Thorns that were

9       on Jesus's head at some point versus one that had

10      been made later.       But since I'm not at all                02:29:39

11      convinced there was a Crown of Thorns on Jesus's

12      head, it's an obviously very figurative way of

13      speaking.

14            Q.       And in the example you gave, the one

15      that was made later was the counterfeit?                       02:29:58

16            A.       Yes, correct.

17            Q.       I'd like to --

18            A.       I want to clarify, I was speaking

19      metaphorically.

20            Q.       Okay.                                           02:30:16

21                     I'd like to show you a document that

22      has been previously marked as Exhibit 6.

23                     MR. SPRIGMAN:     I want one of these.

24                     THE WITNESS:     Yeah, I think they're

25            great.                                                   02:31:01

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1                                 Gopnik

2                    (Pause.)

3             Q.     Have you seen this document before

4       today?

5             A.     I've not, no.                                     02:31:18

6             Q.     Have you seen the shirt depicted in

7       the -- the large shirt depicted on the first page

8       of this document before today?

9             A.     I don't believe I ever have, no.

10                   When you say "large," is that a                   02:31:37

11      normal -- is not a normal shirt?

12            Q.     Because there was a small blue shirt in

13      the bottom corner, I was referring to the large

14      white red shirt in the center of the page.

15            A.     Got it.                                           02:31:59

16            Q.     Are you aware that Mason Rothschild

17      sold a line of classic collegiate apparel inspired

18      T-shirts for art and fashion students?

19                   MR. SPRIGMAN:      Objection.

20            A.     I'm not aware of that.                            02:32:11

21            Q.     I'd like you to assume in this question

22      that the Parsons T-shirt shown in this document

23      was created and sold by Mason Rothschild.           Is this

24      T-shirt art?

25                   MR. SPRIGMAN:      Objection.                     02:32:57

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1                                 Gopnik

2             Q.     And that this NFT is called

3       MetaBirkins.

4                    Do you have an opinion whether based on

5       those facts this NFT is a work of art?                          03:51:23

6                    MR. SPRIGMAN:      Objection.

7             A.     I can never have an opinion about

8       whether something is a work of art based on such a

9       limited set of facts.       It does seem to interact

10      with the other things that -- other Birkins I've                03:51:37

11      seen which in larger context do seem to be works

12      of art.

13            Q.     What else would you need to know about

14      this -- what's depicted in this exhibit in order

15      to determine whether it's a work of art?                        03:51:59

16            A.     Well, among other things what I want to

17      do -- I guess I could do it right here.             It seems

18      to be one of the other MetaBirkins covered with a

19      sheet, which would actually indicate to me more

20      rather than less that it's participating in a                   03:52:15

21      larger artistic project.

22                   It seems to be riffing on other items

23      from the MetaBirkins repertoire.            And the pedestal

24      with a draped object on top of it very much refers

25      to statuary in the history of art.             The act of       03:52:34

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1                                   Gopnik

2       unveiling a statue is something that exists in the

3       history of art.        So it seems very much to be part

4       of that discourse.

5                        So, yes, the answer is I would say yes,       03:52:47

6       it does seem to be understood in an artistic

7       context.

8               Q.       You talked earlier about how the

9       digital files associated with NFTs can change.

10              A.       Yes, that's correct, can be changed.      I   03:53:16

11      don't think they usually change spontaneously.

12              Q.       Do you have any understanding as if at

13      any point since the MetaBirkin NFTs were first

14      offered for sale if the image associated with

15      MetaBirkins NFTs have changed?                                 03:53:40

16                       MR. SPRIGMAN:    Objection.

17              A.       There would be no way for me to know

18      that.        I would have to see the same digital file

19      at two periods of time and then do a forensic

20      analysis of whether a change had been made.                    03:54:00

21      That's not part of my expertise.

22              Q.       I'm going to represent to you when the

23      MetaBirkin NFTs produced by Mason Rothschild were

24      first offered for sale that the images associated

25      with the NFTs looked like the image in Exhibit 57,             03:54:20

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1                                 Gopnik

2                     There's usually -- it takes a bunch of

3       different people to finally come up with something

4       out there.     I assume there's a technician to mount

5       just in charge of literally mounting them on                   04:50:58

6       whatever server they're living on.

7             Q.      In your report you reference that you

8       had seen a number of documents that were -- that

9       have Rothschild Bates stamps.           That all appears on

10      page 3 of your report.                                         04:51:13

11            A.      Yes.

12            Q.      A number of those documents you

13      reference -- in fact, I believe most if not all of

14      them -- involve communications with Mr. Rothschild

15      and Mark Design?                                               04:51:22

16            A.      Yes, that's right.

17            Q.      And do you have an understanding of the

18      role of Mark Design in creating the MetaBirkin

19      images associated with MetaBirkin NFTs?

20                    MR. SPRIGMAN:     Objection.                     04:51:34

21            A.      Yes, his role in the production of

22      them, I'd say.

23            Q.      And what was his role in production?

24            A.      Well, I'd have to look at them in

25      detail.     He seemed to play several different                04:51:41

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1                                 Gopnik

2       roles.      He was in a rich, collaborative

3       relationship.      He was functioning as a high-level

4       studio assistant.      That's what studio assistants

5       do.                                                             04:51:53

6              Q.      Is business art recognized as a genre

7       in the field of art criticism?

8                      MR. SPRIGMAN:     Objection.

9              A.      Yes, it goes by various different

10      names.      Most genres do.     It's also called commerce       04:52:49

11      by artist.      Some people might call it a branch of

12      relational aesthetics.         But it's well recognized

13      as a movement or component in the history of

14      contemporary art.      There have been exhibitions

15      about it; there are books about it.                             04:53:04

16             Q.      Is commerce by artists the same thing

17      as business art?

18             A.      There is no specific definition of

19      business art or of commerce by artists.             There are

20      elaborate -- you know, there are a set of, as it                04:53:15

21      were, Venn diagrams.

22                     Different people might have slightly

23      different ways.      That's true of minimalism, pop

24      art.     Name any kind of art you could name, and

25      there would be different ways of thinking about it              04:53:27

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1
2                            C E R T I F I C A T E
3       STATE OF NEW YORK            )
4                                    : ss.
5       COUNTY OF NEW YORK           )
6
7                      I, LAURIE A. COLLINS, a Registered
8              Professional Reporter and Notary Public
9              within and for the State of New York, do
10             hereby certify:
11                     That BLAKE GOPNIK, the witness whose
12             deposition is hereinbefore set forth, was
13             duly sworn by me and that such deposition
14             is a true record of the testimony given by
15             the witness.
16                     I further certify that I am not
17             related to any of the parties to this
18             action by blood or marriage and that I am
19             in no way interested in the outcome of this
20             matter.
21                     IN WITNESS WHEREOF, I have hereunto
22             set my hand this 27th day of September
23             2022.
24
                                                 <%4878,Signature%>
25                                               LAURIE A. COLLINS, RPR

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